     Case 3:24-cv-00259-SLH-PLD   Document 2-1   Filed 09/11/24   Page 1 of 47




                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

JOSEFINA DOE; ISABELA DOE;
COMMOR JEROME WELCH;
FELIPE NIOMAR MARTINEZ                   Civil Action No. 2:24-cv-9105
ORTIZ; and JOSE DOE;
on behalf of themselves and all others
similarly situated, and                  MEMORANDUM OF LAW
THE AMERICAN FRIENDS                     IN SUPPORT OF INDIVIDUAL
SERVICE COMMITTEE,                       PLAINTIFFS’ MOTION FOR
IMMIGRANT RIGHTS PROGRAM,                CLASS CERTIFICATION AND
                                         APPOINTMENT OF CLASS
                 Plaintiffs,             COUNSEL
v.
U.S. DEPARTMENT OF
                                         ORAL ARGUMENT REQUESTED
HOMELAND SECURITY;
U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT;
 (CONTINUED ON NEXT PAGE)


Gavin J. Rooney, Esq.                       Tiffany J. Lieu, Esq.*
Alexander Shalom, Esq.                      Philip L. Torrey, Esq.*
Natalie J. Kraner, Esq.                     CRIMMIGRATION CLINIC
Naomi D. Barrowclough, Esq.                 HARVARD IMMIGRATION &
Anish Patel, Esq.*                          REFUGEE CLINICAL
Ruth Zimmerman, Esq.                        PROGRAM
LOWENSTEIN SANDLER LLP                      6 Everett Street, Suite 3106
One Lowenstein Drive                        Cambridge, Massachusetts 02138
Roseland, New Jersey 07068                  (617) 496-5497
(973) 597-2500                              Pro Bono Counsel for Plaintiffs
Shira Wisotsky, Esq.           *pro hac vice motion forthcoming
Raquiba Huq, Esq.
Zoe Burke, Esq.
Emily Thornton, Esq.*
LEGAL SERVICES OF NEW JERSEY
100 Metroplex Drive, Suite 402
Edison, New Jersey 08817
(908) 882-2665
  Case 3:24-cv-00259-SLH-PLD         Document 2-1   Filed 09/11/24   Page 2 of 47




ALEJANDRO MAYORKAS,
Secretary of the Department of
Homeland Security, in his official
capacity;

PATRICK J. LECHLEITNER,
Acting Director of Immigration and
Customs Enforcement (“ICE”), in his
official capacity;

DANIEL A. BIBLE,
Executive Associate Director of ICE’s
Enforcement and Removal Operations,
in his official capacity;

CAMMILLA WAMSLEY,
Field Office Director for the ICE
Philadelphia Field Office, in her
official capacity;

FRANCIS KEMP,
Assistant Field Office Director for the
ICE Philadelphia Field Office, in his
official capacity,

                Defendants.
      Case 3:24-cv-00259-SLH-PLD                 Document 2-1           Filed 09/11/24         Page 3 of 47




                                       TABLE OF CONTENTS

                                                                                                             Page

TABLE OF AUTHORITIES .................................................................................... ii

PRELIMINARY STATEMENT ...............................................................................1
STATEMENT OF FACTS ........................................................................................3

LEGAL STANDARD..............................................................................................14

LEGAL ARGUMENT .............................................................................................16
I.      PLAINTIFFS HAVE STANDING TO CHALLENGE THE
        REFUSAL POLICY AND PRACTICE. ........................................................16

       A. The Plaintiffs Have Standing Because the Refusal Policy and
          Practice Prevents Them from Appearing in New Jersey Courts. .............16

II.     THE CLASS SHOULD BE CERTIFIED. .....................................................20
       A. The Class Meets the Requirements of Rule 23(a). ...................................20
       B. The Class Meets the Requirements of Rule 23(b)(2) Because a
          Single Injunction Would Remedy the Harm Caused by the Refusal
          Policy and Practice. ..................................................................................33

III. LOWENSTEIN SANDLER, LEGAL SERVICES OF NEW JERSEY,
     AND THE HARVARD IMMIGRATION & REFUGEE CLINICAL
     PROGRAM SHOULD BE APPOINTED CLASS COUNSEL. ....................37

CONCLUSION ........................................................................................................38




                                                        -i-
    Case 3:24-cv-00259-SLH-PLD                  Document 2-1           Filed 09/11/24         Page 4 of 47




                                    TABLE OF AUTHORITIES

                                                                                                         Page(s)

CASES
Acevedo v. Forcinito,
  820 F. Supp. 886 (D.N.J. 1993) ....................................................................19, 20

Amchem Prod., Inc. v. Windsor,
  521 U.S. 591 (1997) ............................................................................................30

Baby Neal for & by Kanter v. Casey,
  43 F.3d 48 (3d Cir. 1994) ............................................................................passim

City Select Auto Sales Inc. v. BMW Bank of N. Am. Inc.,
   867 F.3d 434 (3d Cir. 2017) ...............................................................................34

In re Cmty. Bank of N. Va. Mortg. Lending Pracs. Litig.,
   795 F.3d 380 (3d Cir. 2015) ...............................................................................29

Colon v. Passaic County,
  No. 08-CV-4439, 2009 WL 1560156 (D.N.J. May 27, 2009) ...........................36
Cottrell v. Alcon Labs.,
  874 F.3d 154 (3d Cir. 2017) ...............................................................................19

Dittimus-Bey v. Taylor,
   244 F.R.D. 284 (D.N.J. 2007).............................................................................36

Doyle v. Fla. Health Sol., Inc.,
  No. 17-12231, 2018 WL 1128776 (D.N.J. Mar. 1, 2018) ..................................31
E. D. v. Sharkey,
   928 F.3d 299 (3d Cir. 2019) ...............................................................................19

Foreman v. Lowe,
  261 F. App’x 401 (3d Cir. 2008) ........................................................................19

Gates v. Rohm & Haas Co.,
  655 F.3d 255 (3d Cir. 2011) ...............................................................................33

Gayle v. Warden, Monmouth Cnty. Corr. Inst.,
  No. 12-CV-02806, 2017 WL 5479701 (D.N.J. Nov. 15, 2017) .........................35

                                                       -ii-
    Case 3:24-cv-00259-SLH-PLD                   Document 2-1           Filed 09/11/24         Page 5 of 47




Gutierrez v. Johnson & Johnson,
  269 F.R.D. 430, 435 (D.N.J. 2010).....................................................................15

Hagan v. Rogers,
  570 F.3d 146 (3d Cir. 2009) ...............................................................................25

Hassine v. Jeffes,
  846 F.2d 169 (3d Cir. 1988) .........................................................................25, 30

Hawker v. Consovoy,
  198 F.R.D. 619 (D.N.J. 2001).............................................................................22

Howard v. Williams,
  No. 2:20-CV-01389, 2022 WL 16553239 (W.D. Pa. Oct. 31, 2022) ................ 26

In re LifeUSA Holding Inc.,
   242 F.3d 136 (3d Cir. 2001) .........................................................................20, 33
Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ............................................................................................16
Luxama v. Ironbound Express, Inc.,
   No. 11-2224 (JMV) (JBC), 2018 WL 6819341 (D.N.J. Dec. 27, 2018) ......29, 34
May v. Sheahan,
  226 F.3d 876 (7th Cir. 2000) ..............................................................................19
Mielo v. Steak’n Shake Operations, Inc.,
  897 F.3d 467 (3d Cir. 2018) ...............................................................................16
In re Modafinil Antitrust Litig.,
   837 F.3d 238 (3d Cir. 2016) ...............................................................................20
N.S. v. Hughes,
   335 F.R.D. 337 (D.D.C. 2020) ...........................................................................23

Neale v. Volvo Cars of N. Am., LLC,
  794 F.3d 353 (3d Cir. 2015) .........................................................................16, 34
Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  259 F.3d 154, 183 (3d Cir. 2001) .................................................................28, 29




                                                       -iii-
    Case 3:24-cv-00259-SLH-PLD                   Document 2-1           Filed 09/11/24          Page 6 of 47




In re NFL Players Concussion Injury Litig.,
    821 F.3d 410 (3d Cir. 2016) .........................................................................25, 28

Parsons v. Ryan,
  754 F.3d 657 (9th Cir. 2014) ..............................................................................26

In re Pet Food Prod. Liab. Litig.,
    629 F.3d 333 (3d Cir. 2010) ...............................................................................30

In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions,
   148 F.3d 283 (3d Cir. 1998) ...............................................................................29

R.F.M. v. Nielsen,
   365 F. Supp. 3d 350 (S.D.N.Y. 2019) ................................................................27

Reyes v. Netdeposit, LLC,
  802 F.3d 469 (3d Cir. 2015) ...............................................................................26
In re Sch. Asbestos Litig.,
    789 F.2d 996 (3d Cir. 1986) ...............................................................................24
In re Schering Plough Corp. ERISA Litig.,
    589 F.3d 585 (3d Cir. 2009) ...............................................................................24
Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co.,
   559 U.S. 393 (2010) ............................................................................................14
Shamberg v. Ashlstrom,
   111 F.R.D. 689 (D.N.J. 1986).............................................................................23
Sheinberg v. Sorensen,
   606 F.3d 130 (3d Cir. 2010) .........................................................................31, 37
Shelton v. Bledsoe,
   775 F.3d 554 (3d Cir. 2015) ...................................................................15, 25, 34

Spokeo, Inc. v. Robins,
   578 U.S. 330 (2016) ............................................................................................16
State v. Lopez-Carrera,
   245 N.J. 596 (2021) ..............................................................................................5




                                                        -iv-
    Case 3:24-cv-00259-SLH-PLD                    Document 2-1           Filed 09/11/24          Page 7 of 47




Stewart v. Abraham,
   275 F.3d 220 (3d Cir. 2001) .........................................................................21, 22

Szczubelek v. Cendant Mortg. Corp.,
   215 F.R.D. 107 (D.N.J. 2003).............................................................................21

Thakker v. Doll,
  336 F.R.D. 408 (M.D. Pa. 2020) ........................................................................23

Troncone v. Velahos,
   No. 10-2961, 2013 WL 1222630 (D.N.J. Mar. 25, 2013) ..................................26

W.A.O. v. Cuccinelli,
  No. 2:19-CV-11696MCAMAH, 2019 WL 4509333 (D.N.J. Sept. 17, 2019) ... 35

Wal-Mart Stores, Inc. v. Dukes,
  564 U.S. 338 (2011) .....................................................................................passim
Ward v. Aviles,
  No. 11-CV-6252 (WJM), 2012 WL 2341499 (D.N.J. Jun. 18, 2012)................ 19
Williams v. Jani-King of Phila. Inc.,
   837 F.3d 314 (3d Cir. 2016) ...............................................................................15
Wilson v. Cnty. of Gloucester,
   256 F.R.D. 479 (D.N.J. 2009).............................................................................26
STATUTES

N.J.S.A. 2A:162-16 to -19 .........................................................................................4
RULES

Advisory Committee Notes to 1966 Amendments to Rule 23,
  39 F.R.D. 102 (1966) ..........................................................................................33

Fed. R. Civ. P. 23(a)..........................................................................................passim

Fed. R. Civ. P. 23(b) .........................................................................................passim
Fed. R. Civ. P. 23(c)...........................................................................................15, 37

Fed. R. Civ. P. 23(g) ............................................................................................3, 31



                                                         -v-
    Case 3:24-cv-00259-SLH-PLD                      Document 2-1             Filed 09/11/24          Page 8 of 47




OTHER AUTHORITIES

Borough of Paramus, New Jersey, Court,
  https://www.paramusborough.org/190/Court ....................................................... 5

7A Charles A. Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice
  and Procedure Civil § 1763 (2d ed. 1986) ..........................................................25

City of New Brunswick, New Jersey, Municipal Court,
   https://www.cityofnewbrunswick.org/residents/services/municipal_court.php... 6

City of Newark, New Jersey, Municipal Court,
   https://www.newarknj.gov/departments/municipalcourt ..................................... 5
City of Perth Amboy, New Jersey, Municipal Court,
   https://www.perthamboynj.org/government/departments/municipal_court ........ 8

City of Clifton, New Jersey, Virtual Court (ZOOM) Procedures and Decorum,
   https://www.cliftonnj.org/442/Virtual-Court-ZOOM-Procedures-and-
   Decoru .................................................................................................................12
Hon. Glenn A. Grant, Notice To The Bar & Public, Municipal Court-Virtual
  Format For All Initial Appearances (Mar. 13, 2023) https://www.
  njcourts.gov/sites/default/files/notices/2023/03/n230315c.pdf?cb=0996287 .... 17

Supreme Court of New Jersey, Notice to the Bar and Public: Future of Court
  Operations Continuation Of Both In-Person And Virtual Court Events
  (Nov. 18, 2021) ....................................................................................................6

Township of Montclair, New Jersey, Municipal Court,
  https://www.montclairnjusa.org/Government/Departments/Municipal-Court 5, 6




                                                           -vi-
    Case 3:24-cv-00259-SLH-PLD      Document 2-1     Filed 09/11/24   Page 9 of 47




      Plaintiffs Josefina Doe, Isabela Doe, Commor Jerome Welch, Felipe Niomar

Martinez Ortiz, and Jose Doe (“Plaintiffs”),1 on behalf of themselves and all others

similarly situated, respectfully submit this brief in support of their motion for class

certification pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil

Procedure. The Plaintiffs also move to be appointed representatives of the class, and

for the appointment of Lowenstein Sandler LLP, the Legal Services of New Jersey

(“LSNJ”), and the Harvard Immigration & Refugee Clinical Program (“HIRCP”) at

Harvard Law School as Co-Class Counsel.

                         PRELIMINARY STATEMENT

      Plaintiffs seeks to represent noncitizens who, like themselves, are detained by

Defendants at the Moshannon Valley Processing Center in Philipsburg,

Pennsylvania (“Moshannon”) and have unresolved criminal matters pending in the

superior or municipal courts of New Jersey (“the Class”). Plaintiffs bring this action

to challenge Defendants’ arbitrary, capricious, and unconstitutional policy and

practice of denying them and the Class virtual access to those New Jersey court

proceedings so that they may appear, participate, and defend themselves in those

proceedings (the “Refusal Policy and Practice”).


1
  “Plaintiffs,” as used herein, refers to the individuals appearing as Plaintiffs and
does not include the Organizational Plaintiff, the Immigrant Rights Program of the
American Friends Service Committee. Plaintiffs Josefina Doe, Isabela Doe, and Jose
Doe are proceeding with pseudonyms. A motion to proceed under pseudonym
accompanies this Motion.
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24    Page 10 of 47




      Defendant United States Department of Homeland Security (“DHS”) and its

agency, Defendant Immigration and Customs Enforcement (“ICE”), apprehended

Plaintiffs in New Jersey and subsequently transferred them to Moshannon, a

detention facility operated by a private company, The GEO Group, under contracts

with Clearfield County, Pennsylvania and ICE. Although Moshannon makes video-

conferencing facilities available to allow individuals in detention to virtually

participate in immigration court and certain family court proceedings, Defendants

deny Plaintiffs and the Class access to the same technology to allow them to

participate in unresolved criminal matters before New Jersey municipal and state

courts. As a result, they cannot participate in those proceedings. The Refusal Policy

and Practice imposes a multitude of harms on Plaintiffs and the Class, including

difficulty in seeking appointment of a public defender, an inability to present a

defense, and the risk that bench warrants or contempt judgments will issue due to

their failure to appear in criminal court. This, in turn, also significantly reduces (or

even precludes) Plaintiffs’ and the Class’s chances of securing release from

immigration detention.

      As detailed in Plaintiffs’ Class Action Complaint filed herewith, Plaintiffs

seek a declaration and permanent injunction compelling Defendants to provide

access to video-conferencing technology like Zoom, or, when appropriate, the




                                          -2-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 11 of 47




telephone, to appear and participate in unresolved criminal proceedings in New

Jersey.

      Rule 23(b)(2) certification is appropriate to allow the Class to join the

Plaintiffs in challenging the Refusal Policy and Practice. Because the Plaintiffs have

suffered a cognizable injury, and because the Class meets the requirements of Rule

23(a) and (b)(2), the Plaintiffs’ Motion for Class Certification should be granted.

Further, Plaintiffs respectfully request that Lowenstein Sandler LLP, LSNJ, and

HIRCP be appointed Co-Class Counsel, in accordance with Rule 23(g).

                            STATEMENT OF FACTS

      The right to attend, participate, and be heard in one’s defense of a criminal

charge is a bedrock principle under the Constitution and American jurisprudence.

But Defendants are depriving Plaintiffs and the Class of that very right.

      At Moshannon, Defendants detain noncitizens who have been apprehended

pending further action (e.g., removal proceedings, the enforcement of a prior order

of removal, or the processing of their asylum application) and who have not yet been

released on bond or otherwise. (Declaration of Ian G. Peacock, Ph.D (“Peacock

Decl.”) Ex. B (Sept. 9, 2024)). A substantial number of people Defendants detain at

Moshannon were apprehended in New Jersey. (See id.). Many of these individuals

are the subject of criminal charges, including indictable and disorderly persons

offenses, pending in New Jersey’s superior or municipal courts. (See id.). Pursuant



                                         -3-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 12 of 47




to the New Jersey Criminal Justice Reform Act (“CJRA”), most such individuals are

released pending trial shortly after arrest upon a finding that they do not pose a threat

to public safety. N.J.S.A. 2A:162-16 to -19 (establishing presumptive pretrial release

for individuals charged with nonviolent, less serious crimes). However, ICE

routinely apprehends these individuals upon their release, moving them to

Moshannon before they can return to their homes and families in New Jersey, and

before they can contest the charges brought against them. (See, e.g., Declaration of

Josefina Doe (“Josefina Decl.”) ⁋ 12 (Aug. 8, 2024); Declaration of Commor Jerome

Welch (“Commor Decl.”) ⁋⁋ 6-8 (Aug. 5, 2024); Declaration of Felipe Niomar

Martinez Ortiz (“Felipe Decl.”) ⁋⁋ 6-8 (Sept. 3, 2024); Declaration of Isabela Doe

(“Isabela Decl.”) ⁋⁋ 8-9 (Sept. 4, 2024)).

      Per the Refusal Policy and Practice, Defendant ICE does not permit people

detained at Moshannon to participate in ongoing New Jersey superior or municipal

court proceedings by virtual means. (See Declaration of Shira Wisotsky (“Wisotsky

Decl.”), ⁋⁋ 20-38, Exs. A through S) (Sept. 9, 2024). Instead, Defendants insist that

the New Jersey court issue a writ requiring the individual to attend court in-person.

(See, e.g., id. Exs. B- F, I, L-R). A writ requires New Jersey authorities to dispatch

law enforcement personnel to collect the individual from Moshannon, deliver the

individual to the New Jersey court, and then return the individual to Moshannon after

the conclusion of the criminal hearing or proceeding. (See id. Exs. B, D, E, F, M, N,


                                          -4-
    Case 3:24-cv-00259-SLH-PLD      Document 2-1     Filed 09/11/24    Page 13 of 47




Q, R). The existence of the Refusal Policy and Practice is proven by numerous

separate items of correspondence wherein Defendants have consistently refused to

make available facilities to allow virtual attendance at New Jersey court proceedings,

and have informed Judiciary staff, Plaintiffs, other people in detention, and their

counsel that only a writ requiring in-person attendance will do. (See id. Exs. B, C,

D, E, F, I, M, N, N, O, P, Q, R; see also Josefina Decl. ¶¶ 19-21, 25-26; Felipe Decl.

¶ 12; Isabela Decl. ¶¶ 11-13, 16; Commor Decl. ¶¶ 10-12, 14).

       For practical reasons, New Jersey courts rarely, if ever, issue such a writ. In

some situations, the law does not permit New Jersey courts to issue such a writ. See

State v. Lopez-Carrera, 245 N.J. 596, 616-17 (2021) (holding that the CJRA does

not authorize pretrial detention of a noncitizen defendant due to actions by

immigration authorities). In other situations, a writ is neither practical nor feasible.

For nearly every New Jersey court, Moshannon (which is located in central

Pennsylvania) is at least an eight-hour round-trip drive; consequently, few if any

New Jersey courts issue such writs due to the limited resources available to them.

Moreover, many municipal courts conduct all proceedings remotely;2 therefore, the


2
      See,     e.g.,    Borough      of    Paramus,       New     Jersey,     Court,
https://www.paramusborough.org/190/Court (providing that municipal court
appearances are virtual) (last accessed Sept. 9, 2024); City of Newark, New Jersey,
Municipal Court, https://www.newarknj.gov/departments/municipalcourt (“The
City of Newark Municipal Court will be providing virtual court sessions via Zoom.”)
(last accessed Sept. 9, 2024); Township of Montclair, New Jersey, Municipal Court,


                                          -5-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 14 of 47




issuance of an in-person writ is therefore a non sequitur when everyone else

(prosecutor, judge, and defense counsel) is remote. Finally, securing a writ is a

virtual impossibility for indigent people in detention who have not yet been

appointed with public defense counsel because they have been unable to attend a

first or subsequent criminal court proceeding.

      The Refusal Policy and Practice is irrational. In this day and age, particularly

post-COVID, business is commonly conducted by remote video means (using

platforms such as Zoom or Microsoft Teams) or by telephone. New Jersey superior

and municipal courts regularly allow remote attendance.3 Moreover, Defendant ICE

routinely allows these same detained individuals to participate remotely in

immigration and certain family-court proceedings. (See Wisotsky Decl. Exs. D, K,

S). The facility has 30 virtual consultation booths, numerous tablets, and telephones

that are used for that very purpose. (Id. Ex. U). However, ICE will not extend the


https://www.montclairnjusa.org/
Government/Departments/Municipal-Court (“Montclair Municipal Court is
conducting court in a virtual setting.”) (last accessed Sept. 9, 2024); City of New
Brunswick, New Jersey, Municipal Court, https://www.cityofnewbrunswick.org/
residents/services/municipal_court.php (“In lieu of in-person sessions, New
Brunswick Municipal Court is functioning primarily with scheduled, virtual
hearings using the Zoom app technology.”) (last accessed Sept. 9, 2024).
3
  See, supra, n.2; New Jersey Supreme Court, Notice to the Bar and Public: Future
of Court Operations Continuation Of Both In-Person And Virtual Court Events ¶
7(b) (Nov. 18, 2021) (ordering that “First Appearances on defendants in custody”
and “detention hearings” in the Criminal Division of the New Jersey Superior Court
“will proceed in a virtual format, absent an individualized reason to proceed in
person based on the facts and circumstances of the case”).

                                         -6-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 15 of 47




same opportunity or provide the same resources when it comes to New Jersey

criminal proceedings. This is a textbook definition of arbitrary decision-making:

Moshannon allows virtual court attendance for one kind of court appearance, but not

for another.

      The harm caused by the Refusal Policy and Practice is both palpable and self-

evident. Plaintiffs and the Class are hampered, and many times prevented, from

defending themselves against criminal charges. Without an appearance, Class

members often cannot secure the help of a public defender; cannot confront their

accuser; cannot seek dismissal of charges, even when the complainant is willing to

dismiss the charges; and risk the issuance of bench warrants for their arrest, or other

default, due to their non-appearance. Moreover, the very pendency of the State

criminal charges is a factor considered by ICE or Immigration Judges when deciding

whether to release the person detained pending resolution of the immigration

proceedings.

      This is typical of the Plaintiffs’ own experiences. Plaintiff Josefina Doe was

arrested in New Jersey on May 5, 2024, during an incident involving her abusive

partner. (Josefina Decl. ⁋ 11). Because she only speaks Spanish, Josefina was unable

to explain the circumstances to law enforcement and thereby avoid arrest. (Id.). On

May 7, 2024, a state court ordered Josefina released pending further proceedings and

informed her that she was required to check in periodically with the court. (Id. ⁋ 12).


                                         -7-
    Case 3:24-cv-00259-SLH-PLD      Document 2-1     Filed 09/11/24    Page 16 of 47




ICE then seized Josefina when she was released by state authorities, and transferred

her to Moshannon, where she remains today. (Id. ⁋⁋ 12, 14).

       The charges against Josefina remain pending in the Perth Amboy Municipal

Court, which only allows virtual appearances. 4 (Id. ⁋ 16). Due to the Refusal Policy

and Practice, Moshannon has denied Josefina’s repeated requests for remote access

to the municipal court proceedings. (Id. ⁋⁋ 13, 15-20, 25). Consequently, Josefina

has been unable to obtain a public defender because she cannot appear in court to

request one. (Id. ⁋ 31). Josefina is therefore unable to assert any defenses; to put it

bluntly, she has been deprived of the opportunity to tell her side of the story and seek

dismissal of the charges. (Id. ⁋ 40).

       The unresolved charges also constitute a factor that the Immigration Judge

will consider against her when deciding whether Josefina can be released from

Moshannon on bond. As a result, she has been unable to return home to work and

financially support her daughters currently studying in the Dominican Republic. (Id.

⁋ 32). The charges also cloud Josefina’s asylum application, increasing the chances

of her removal despite her fears of persecution by her former abusive husband in the

Dominican Republic. (Id. ⁋ 5).



4
     City      of     Perth    Amboy,     New     Jersey,   Municipal      Court,
https://www.perthamboynj.org/government/departments/municipal_court         (“All
court sessions will be held virtually on zoom, unless otherwise instructed by the
court.”) (last accessed Sept. 9, 2024).

                                          -8-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 17 of 47




      Finally, Josefina’s prolonged confinement has taken a toll on both her

physical and mental health. (Id. ¶¶ 35-39). She cannot access needed healthcare

services and medications for her preexisting conditions (id. ¶¶ 36-38) and her mental

health has deteriorated significantly due to her detention at Moshannon (id. ¶ 39).

What limited services she has been able to access are not provided in her own

language. (Id. ¶ 39).

      Plaintiff Commor Welch was arrested on August 9, 2023. (Commor Decl.

⁋ 6). A New Jersey court then ordered Commor released, conditioned on regular

check-ins with court personnel and a further appearance on September 29, 2023. (Id.

⁋⁋ 6-7). ICE seized Commor when he was released by state authorities and

transferred him to Moshannon, where he remains today. (Id. ⁋⁋ 1, 8). Commor could

not, and did not, appear before the court for that September appearance due to his

detention at Moshannon. (Id. ⁋ 9). Commor repeatedly requested the ability to

virtually attend court proceedings in New Jersey; but, due to the Refusal Policy and

Practice, ICE denied his requests each time. (Id. ⁋⁋ 10-12, 14).

      The Refusal Policy and Practice has prejudiced Commor’s ability to obtain

appointed defense counsel and to be present and participate in his defense. Commor

initially hired a private attorney to represent him in his criminal proceedings. In April

2024, the attorney moved to dismiss the charges against Commor for insufficient

evidence, but Commor was unable to appear for the hearing on that motion because


                                          -9-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 18 of 47




of the Refusal Policy and Practice. (Id. ⁋ 15). That motion was denied for reasons

unknown to Commor, and the attorney has since moved to withdraw as counsel,

attesting that:

              [t]he relationship between attorney and client has gone
              beyond repair . . . [because] he believes that I should be
              able to do more to get him to be present in the Court for
              his adjudication of his criminal matter. Commor is held by
              the Department of Homeland Security . . . and [that
              agency] refused to present him for his criminal case.

(Wisotsky Decl. Ex. T at Certification of Keith R. Campbell, ¶ 10). Commor

desperately wants to have a public defender appointed to his case and to be able to

participate in the proceedings brought against him, but he cannot appear in court due

to the Refusal Policy and Practice. (Commor Decl. ⁋ 17).

       The continued pendency of these unresolved State criminal charges continues

to harm Commor. He previously married a United States citizen, with whom he has

a child. (Id. ⁋⁋ 3-4). Commor’s spouse filed a petition to establish her bona fide

relationship with Commor and allow Commor to apply to adjust his status to lawful

permanent resident. (Id. ⁋ 4). Commor’s petition was approved and he has since

applied for adjustment of status—i.e., a discretionary form of relief in which the

Immigration Judge may consider unresolved criminal charges. (Id.). Additionally, in

October 2023, Commor sought a release from Moshannon on bond so that he could

return to care for and support his family. (Id. ⁋ 19). His application was denied. (Id.).

Commor learned (because Moshannon permitted him to virtually appear before the

                                          -10-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24    Page 19 of 47




immigration court) that the immigration court did so, and would continue to do so,

until and unless the New Jersey criminal charges are resolved. (Id.).

      Commor’s situation starkly demonstrates the cruel and illogical circle created

by the Moshannon bureaucracy: he cannot secure a bond for his release from

Moshannon until his State criminal charges are resolved, but he cannot resolve those

State criminal charges because Moshannon will not permit him to appear virtually

in those State court proceedings.

      Plaintiff Felipe Niomar Martinez Ortiz was arrested on June 19, 2024. (Felipe

Decl. ⁋ 6). While in a county jail, Felipe was conditionally released pending trial,

required to periodically check in with court staff, and given his next court date in the

New Jersey Superior Court. (Id. ⁋⁋ 6-7). Before the jail released him, ICE detained

him and eventually moved him to Moshannon. (Id. ⁋ 8). Despite attempts to do so,

Felipe was unable to attend his court date because of the Refusal Policy and Practice.

(Id. ⁋⁋ 9-11). Because he was unable to appear, Felipe was unable to personally

request a public defender to be appointed for him. (Id. ¶ 13). Nor was he able to

check in with court staff as required by the court. (Id. ⁋⁋ 9-10).

      Through the assistance of counsel, Felipe was appointed a public defender in

the Superior Court. (Id. ⁋ 14). As a result, the charges were quickly downgraded and

remanded to municipal court in Paramus, New Jersey. He must, again, navigate

requesting a new public defender. (Id. ⁋ 15). He has been unable to do so and cannot


                                         -11-
    Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 20 of 47




attend the virtual hearings in municipal court due to the Refusal Policy and Practice.

(Id.).

         The police arrested Plaintiff Isabela Doe on June 17, 2024. (Isabela Decl. ⁋ 8.)

Despite a long history of abuse from her former partner, Isabela was arrested on

charges of domestic violence because she could not explain the circumstances to the

responding police officers due to a language barrier. (Id. ⁋⁋ 7-8). A court ordered

Isabela released pending trial, but ICE detained her before she was released,

eventually transporting her to Moshannon. (Id. ⁋⁋ 8-9). Since Isabela arrived at

Moshannon in June 2024, Defendants, through the Refusal Policy and Practice,

caused her to miss two court dates with respect to the charges against her, despite

her repeated requests to appear virtually. (Id. ⁋⁋ 11-17). The unresolved criminal

proceeding is now pending in Clifton municipal court, which only allows virtual

appearances.5 (Id. ⁋ 19).

         Isabela’s former partner informed her that he is no longer interested in

pressing charges against her. (Id. ¶ 15). Ordinarily, of course, that would be the end

of the matter. However, due to the Refusal Policy and Practice, Isabela is unable to

secure dismissal of the criminal matter because she cannot appear in court. (Id ⁋⁋ 11-



5
  City of Clifton, New Jersey, Virtual Court (ZOOM) Procedures and Decorum,
https://www.cliftonnj.org/442/Virtual-Court-ZOOM-Procedures-and-Decoru
(“[M]ost court sessions are currently being conducted via Zoom.”) (last accessed
Sept. 9, 2024)

                                           -12-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 21 of 47




17). Because she cannot appear, she has not been able to obtain a public defender to

represent her. (Id. ⁋ 19). Isabela wishes to obtain bond to return to her youngest

child, who is currently in the care of her abusive and drug-addicted former partner,

but cannot do so given the pendency of the unresolved State criminal matter. (Id.

⁋⁋ 20-22).

      Jose Doe came to the United States as a teenager, fleeing gang persecution in

El Salvador. (Declaration of Jose Doe (“Jose Decl.”) ¶ 3). While living in New

Jersey, Jose was arrested for drug possession and released the same day but was

detained by ICE and eventually moved to Moshannon. (Id. ⁋⁋ 5-6). Due to his

detention, he missed his first court date. (Id.). There are also charges filed against

him in the Superior Court, but because he is detained and cannot appear virtually, he

missed the post-indictment arraignment in that matter as well. (Id.). As a

consequence of his non-appearance in both matters, the judges in both cases issued

bench warrants for Jose’s arrest. (Id. ¶ 8). Jose has been detained for a year-and-a-

half, almost his entire adulthood. (Id. ¶ 1). The unresolved criminal matters have

made it impossible for him to secure bond in his immigration case. (Id. ¶ 9). And,

his Immigration attorney’s advocacy to have him virtually produced for court has

gone unheeded. (Id. ¶ 10; id., Ex. A). As his counsel described in an email to

Defendant ICE:

             It seems we’re in a bind. Based on the constraints [ICE]
             and the Municipal Court have articulated, Mr. [Doe]

                                        -13-
   Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 22 of 47




               cannot get released from detention until his case is
               resolved, and he also can’t get his case resolved until he is
               released from detention. He cannot get a public defender
               to resolve the criminal cases that are keeping him detained
               without being produced for court and it looks like he can’t
               get produced for court while detained. While we
               understand your policy, the cumulative policies here are
               generating a serious due process violation.

(Id.).

         As these examples make clear, the Refusal Policy and Practice creates a

vicious cycle. Individuals detained at Moshannon cannot appear virtually in New

Jersey criminal proceedings; as a result, they cannot resolve criminal charges; and

due to the unresolved nature of the charges, Plaintiffs cannot secure release from

Moshannon on bond due to the pendency of those charges. The experiences of the

named Plaintiffs are hardly unique. Several of them are familiar with others who are

in the same situation as Plaintiffs. (See Isabela Decl. ⁋ 18; Josefina Decl. ⁋ 22;

Commor Decl. ⁋ 18; Jose Decl. ¶ 7). By depriving people in detention of the ability

to participate in and resolve state charges via remote means, Defendant ICE is

manufacturing the very basis for keeping the individual detained.

                                 LEGAL STANDARD

         Rule 23 of the Federal Rules of Civil Procedure “creates a categorical rule

entitling a plaintiff whose suit meets the specified criteria to pursue his claim as a

class action.” Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S.

393, 398 (2010). A class should be certified under Rule 23(b)(2) if it: “(l) meets the


                                           -14-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 23 of 47




requirements of Rule 23(a); (2) is sufficiently cohesive under Rule 23(b)(2);” and

(3) is capable of description by a “readily discernible, clear, and precise statement

of the parameters defining the class.” Shelton v. Bledsoe, 775 F.3d 554, 563 (3d Cir.

2015) (quoting Fed. R. Civ. P. 23(c)(l)(B)).

      “Although the court must undertake a rigorous analysis at the certification

stage and consider some merits-related issues, the class certification stage is not the

place for a decision on the merits.” Williams v. Jani-King of Phila. Inc., 837 F.3d

314, 322 (3d Cir. 2016). Thus, “[i]n determining whether a class should be certified,

the question is whether the requirements of Rule 23 have been met—not whether the

moving party has stated a cause of action or is likely to succeed on the merits.”

Gutierrez v. Johnson & Johnson, 269 F.R.D. 430, 435 (D.N.J. 2010).

      Plaintiffs seek to represent a Class defined as:

             All noncitizens detained by Defendants at the Moshannon
             Valley Processing Center who have unresolved criminal
             matters (inclusive of petty disorderly persons, disorderly
             persons, and indictable offenses) to be charged or charged
             in a superior or municipal court in New Jersey.

See Compl. ⁋ 158. Because Plaintiffs have suffered a cognizable injury, and because

the Class meets the requirements of Rule 23(a) and (b)(2), Plaintiffs’ Motion for

Class Certification should be granted.




                                         -15-
     Case 3:24-cv-00259-SLH-PLD     Document 2-1      Filed 09/11/24   Page 24 of 47




                               LEGAL ARGUMENT

I.      PLAINTIFFS HAVE STANDING TO CHALLENGE THE REFUSAL
        POLICY AND PRACTICE.

        A.    The Plaintiffs Have Standing Because the Refusal Policy and
              Practice Prevents Them from Appearing in New Jersey Courts.
        Plaintiffs seek relief from the Court because they are being injured by the

Refusal Policy and Practice. To have standing to sue, a “plaintiff must have (1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the

defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “In the class action context, [the]

standing inquiry focuses solely on the class representative(s) . . . . ‘[P]utative class

members need not establish Article III standing. Instead, the cases or controversies

requirement is satisfied so long as a class representative has standing . . . .’” Mielo

v. Steak’n Shake Operations, Inc., 897 F.3d 467, 478 (3d Cir. 2018) (quoting Neale

v. Volvo Cars of N. Am., LLC, 794 F.3d 353, 362 (3d Cir. 2015)).

        A plaintiff is injured within the meaning of Article III if “he or she suffered

‘an invasion of a legally protected interest’ that is ‘concrete and particularized’ and

‘actual or imminent, not conjectural or hypothetical.’” Spokeo, 578 U.S. at 339

(quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). “[T]he risk of real

harm” satisfies the concreteness requirement. Id. at 1549. Thus, “class members can

assert such a single common complaint even if they have not all suffered actual

injury; demonstrating that all class members are subject to the same harm will

                                          -16-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 25 of 47




suffice.” Baby Neal for & by Kanter v. Casey, 43 F.3d 48, 56 (3d Cir. 1994).

Moreover, if “an action challenges a policy or practice, the named plaintiffs suffering

one specific injury from the practice can represent a class suffering other injuries, so

long as all the injuries are shown to result from the practice.” Id. at 58.

      Plaintiffs have standing to challenge the Refusal Policy and Practice because

they are all detained at Moshannon; have unresolved criminal matters in New Jersey

courts; and have been denied or will be denied access to technology allowing them

to participate in the criminal proceedings against them. For Josefina, Isabela, Felipe,

and Jose, virtual appearances are necessary. (See, e.g., Josefina Decl. ⁋ 16); see The

Hon. Glenn A. Grant, Notice To The Bar & Public, Municipal Court-Virtual Format

For All Initial Appearances (Mar. 13, 2023), https://www.njcourts.gov/

sites/default/files/notices/2023/03/n230315c.pdf?cb=0996287c (directing that “the

initial appearance in all Municipal Court cases, including those involving

consequences of magnitude, will be scheduled as virtual initial appearances”). As a

result of the Refusal Policy and Practice, they cannot appear to assert defenses to the

charge or even explain their absence to the court. (See, e.g., Josefina Decl. ⁋⁋ 16, 30,

31). The Plaintiffs who have successfully obtained counsel to defend them in the

criminal cases have required the assistance of pro bono counsel. (See, e.g., Felipe

Decl. ⁋⁋ 13-15). However, most members of the proposed Class do not have access




                                          -17-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1    Filed 09/11/24   Page 26 of 47




to pro bono immigration counsel and the Refusal Policy and Practice limits pro bono

immigration providers’ capacity to take on new cases. (See, e.g., Compl. ⁋ 151–57).

      All Plaintiffs were ordered released from pretrial detention under the CJRA.

(Commor Decl. ⁋⁋ 6-7; Felipe Decl. ⁋ 6; Josefina Decl. ⁋ 12; Isabela Decl. ⁋ 8; Jose

Decl. ⁋ 6). Some, like Commor and Felipe, are subject to conditions such as periodic

reporting to the court through virtual or telephonic appearances. (Commor Decl. ⁋ 7;

Felipe Decl. ⁋ 6). Because the Refusal Policy and Practice prevents them from doing

so, they face potential criminal consequences from the failure to adhere to pretrial-

release conditions. (See Commor Decl. ⁋⁋ 9, 13-15; Jose Decl. ⁋⁋ 7-8). Furthermore,

as noted above, both Commor and Felipe have been unable to participate in their

own defenses. (Commor Decl. ⁋⁋ 14-15; Felipe Decl. ⁋⁋ 13-15). Both now wish to

and are eligible to obtain a public defender but cannot access the court to request

one. (Commor Decl. ⁋ 17; Felipe Decl. ⁋⁋ 13-15).

      Lastly, as a consequence of the Refusal Policy and Practice, all Plaintiffs are

subject to prolonged detention because they are hampered in their ability to obtain

bond or other release while they have unresolved criminal matters. (Commor Decl.

⁋⁋ 4, 19, 23; Josefina Decl. ⁋ 32; Felipe Decl. ⁋ 16; Isabela Decl. ⁋ 22; Jose Decl.

⁋ 9). Commor has been denied bond specifically because the criminal charges

against him are unresolved and Isabela was advised by an Immigration Judge that

she should wait until the charges against her are resolved before seeking bond again.


                                        -18-
  Case 3:24-cv-00259-SLH-PLD           Document 2-1   Filed 09/11/24   Page 27 of 47




(Commor Decl. ⁋ 19; Isabela Decl. ⁋ 22). Without the ability to secure bond, these

Plaintiffs remain in immigration detention, separated from their families, jobs, and

homes, and are subjected to the conditions of detention facilities.

      All Plaintiffs therefore have a “legally protected interest” sufficient for Article

III standing in their right to access the New Jersey Courts under the First, Fifth, and

Sixth Amendments. Cottrell v. Alcon Labs., 874 F.3d 154, 164 (3d Cir. 2017) (noting

that “legally protected interests” sufficient to confer standing “may arise from the

Constitution”); see Acevedo v. Forcinito, 820 F. Supp. 886, 887 (D.N.J. 1993) (“It

is well established that prisoners have a fundamental constitutional right of access

to the courts.” (citation omitted)).

      This Court has specifically held that “a pre-trial detainee has a right of access

to the courts with respect to . . . participation in one’s own defense against pending

criminal charges.” Ward v. Aviles, No. 11-CV-6252 (WJM), 2012 WL 2341499, at

*2 (D.N.J. Jun. 18, 2012) (citing May v. Sheahan, 226 F.3d 876, 883–84 (7th Cir.

2000)). And individuals detained by federal immigration authorities are entitled to

the same rights as pre-trial detainees. E. D. v. Sharkey, 928 F.3d 299, 306–07 (3d

Cir. 2019) (collecting cases where courts expressly held that “immigration detainees

are entitled to the same due process protections” as pretrial detainees); accord

Foreman v. Lowe, 261 F. App’x 401, 404 (3d Cir. 2008) (“Because [plaintiff] was

an immigration detainee at the time of the alleged constitutional violations, he is


                                           -19-
      Case 3:24-cv-00259-SLH-PLD     Document 2-1      Filed 09/11/24   Page 28 of 47




entitled to the same protections as a pre-trial detainee.”). The right of a person in

detention to access the courts “is the most fundamental right [a person] holds, for all

other rights of [people detained] are illusory without it.” Acevedo, 820 F. Supp. at

887 (citations omitted). As demonstrated by the Plaintiffs’ circumstances, Plaintiffs

have standing to pursue their constitutional claims.

II.      THE CLASS SHOULD BE CERTIFIED.

         A.    The Class Meets the Requirements of Rule 23(a).

         “In order to be certified, a class must satisfy the four requirements of Rule

23(a) of the Federal Rules of Civil Procedure: (1) numerosity, (2) commonality, (3)

typicality, and (4) adequacy of representation.” In re LifeUSA Holding Inc., 242 F.3d

136, 143 (3d Cir. 2001). The Class meets each requirement.

               1.    Numerosity

         The Class is “so numerous that joinder of all members is impracticable.” Fed.

R. Civ. P. 23(a)(l). The numerosity requirement does not demand that joinder would

be “impossible,” but rather focuses on whether it would be “difficult[ to] achiev[e]

joinder.” In re Modafinil Antitrust Litig., 837 F.3d 238, 249 (3d Cir. 2016). Relevant

considerations include “judicial economy, the claimants’ ability and motivation to

litigate as joined plaintiffs, the financial resources of class members, the geographic

dispersion of class members, the ability to identify future claimants, and whether the

claims are for injunctive relief or for damages.” Id. at 253. Although “[n]o minimum

number of plaintiffs is required to maintain a suit as a class action, . . . generally if

                                          -20-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 29 of 47




the named plaintiff demonstrates that the potential number of plaintiffs exceeds 40,

the first prong of Rule 23(a) has been met.” Stewart v. Abraham, 275 F.3d 220, 226–

27 (3d Cir. 2001). Class counsel need not “demonstrate the precise number of class

members when a reasonable estimate can be inferred from facts in the record.”

Szczubelek v. Cendant Mortg. Corp., 215 F.R.D. 107, 116 (D.N.J. 2003).

      As we demonstrate through the Declaration of Dr. Ian G. Peacock, the

proposed Class satisfies the numerosity requirement of Rule 23(a). The daily census

of detained individuals at Moshannon who were apprehended in New Jersey and

who have unresolved criminal charges exceeded forty by the end of the first quarter

of 2022 and has consistently remained well above that number in all following

calendar quarters. According to the most recent information (as of the end of the first

quarter of 2024), that daily census exceeds 200 individuals. (Peacock Decl., ¶ 15,

Ex. E). Dr. Peacock bases this analysis on the data provided by ICE pursuant to a

Freedom of Information Act request. (Id. ¶¶ 6-8). Further, this number no doubt

understates the number of individuals detained at Moshannon with active criminal

proceedings. This is so for two reasons. First, the population at Moshannon has been

consistently increasing over time, yet the ICE data only provides information

through the early spring of this year; accordingly, the number of Class members

detained at Moshannon is likely higher today than at the close of the first quarter of

2024. (Id. ¶¶ 14-15). Second, the ICE data identifies people detained at Moshannon


                                         -21-
    Case 3:24-cv-00259-SLH-PLD     Document 2-1     Filed 09/11/24   Page 30 of 47




with prior convictions but does not disclose which of those individuals also has

current unresolved charges against them.6 (Id. ¶ 16). Some proportion of these

individuals no doubt also have pending charges and therefore fit the Class definition.

(Id. ¶ 17). Accordingly, the number of individuals detained at Moshannon who

satisfy the Class definition well exceeds 200 today.7

       The inclusion of these potential members supports a numerosity finding

because “[t]he number of class members will increase further” if we include these

individuals, Stewart, 275 F.3d at 227, and “[t]he joinder of potential future class

members who share a common characteristic, but whose identity cannot be

determined yet[,] is considered impracticable,” Hawker v. Consovoy, 198 F.R.D.

619, 625 (D.N.J. 2001).

       Especially where, as here, the total population at Moshannon has been steadily

increasing over time, (Peacock Decl., ¶ 14, Ex. D), the fact that the precise size of



6
   As explained in the Peacock Declaration, the Freedom of Information Act
(“FOIA”) data from ICE lists an individual as having “Pending Criminal Charges”
or being a “Convicted Criminal,” but not both. That is, if a person is a convicted
criminal who also has unresolved criminal charges pending against them, the latter
is not reflected in the data.
7
  On the eve of filing, ICE produced an expanded dataset to counsel for LSNJ which
includes census information through August 27, 2024, as well as the specific
“Apprehension Site” of the individuals subsequently detained at Moshannon. Dr.
Peacock has not yet revised his report based on this more current data but, based on
his preliminary analysis of the same, he has confirmed that the results would be
consistent with those he produced using the first dataset. If anything, the numbers
have increased in intervening months between April and August.

                                        -22-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 31 of 47




the Class fluctuates over time is no bar to class certification on claims seeking

injunctive relief. See Shamberg v. Ashlstrom, 111 F.R.D. 689, 698 (D.N.J. 1986)

(“Certification is not barred because the precise number of class members has not

been determined.”); Thakker v. Doll, 336 F.R.D. 408, 415 (M.D. Pa. 2020) (“[T]he

fact that the membership and size of a class may vary over time as detainees are

transferred away from or introduced into [a prison facility] enhances the desirability

of using a plaintiff class.” (internal quotation marks, alterations, and citation

omitted)).

      Joinder is also impracticable because Defendants deny Class members access

to courts. Moreover, the Class members are detained by Defendants, many are

unrepresented by immigration and criminal defense counsel, many have limited

English proficiency, and many are indigent and lack sufficient resources, financial

or otherwise, to bring their own cases. See N.S. v. Hughes, 335 F.R.D. 337, 353

(D.D.C. 2020), modified on clarification sub nom. N.S. v. Dixon, No. 1:20-CV-101-

RCL, 2020 WL 6701076 (D.D.C. Nov. 13, 2020)) (“[T]he proposed class is limited

to indigents, meaning that bringing individual suits would be extremely difficult.”);

see also Newberg on Class Actions § 3:11 (observing that joinder is impracticable

if “class members are financially unable to fund litigation themselves”). If they

proceed as a class, however, they will have pro bono representation to challenge the




                                        -23-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24    Page 32 of 47




Refusal Policy and Practice. Thus, the Class meets the requirements of Rule

23(a)(1).

             2.     Commonality

      A single issue drives the relief the Class seeks: whether the Refusal Policy

and Practice violates the U.S. Constitution and/or the Administrative Procedures

Act. Deciding that issue in the Class’s favor will provide relief to all class members

because it will remove the manufactured obstacle to the Class’s ability to access the

criminal proceedings against them in New Jersey, as they do their immigration

proceedings and certain family court proceedings. Therefore, “there are questions of

law . . . common” to the Class. Fed. R. Civ. P. 23(a)(2).

      As the Third Circuit has explained, the “threshold of commonality is not

high.” In re Sch. Asbestos Litig., 789 F.2d 996, 1010 (3d Cir. 1986) (citation

omitted). “[O]nly one question of law or fact in common is necessary to satisfy the

commonality requirement, despite the use of the plural ‘questions’ in the language

of Rule 23(a)(2).” In re Schering Plough Corp. ERISA Litig., 589 F.3d 585, 597 n.10

(3d Cir. 2009). To meet the commonality standard, plaintiffs must show that their

claims “depend upon a common contention” and that determination of the truth or

falsity of that common contention “will resolve an issue that is central to the validity

of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.




                                         -24-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 33 of 47




338, 350 (2011); see also In re NFL Players Concussion Injury Litig., 821 F.3d 410,

426–27 (3d Cir. 2016).

      Although a putative class must be held together by a common thread, class

representatives need not have “endured precisely the same injuries that have been

sustained by the class members”; Rule 23(a)(2) is satisfied so long as “the harm

complained of [is] common to the class.” Hassine v. Jeffes, 846 F.2d 169, 177 (3d

Cir. 1988). Indeed, “class members can assert such a single common complaint even

if they have not all suffered actual injury; demonstrating that all class members are

subject to the same harm will suffice.” Baby Neal, 43 F.3d at 56; see also Hagan v.

Rogers, 570 F.3d 146, 158 (3d Cir. 2009) (noting that a common “threat of an injury”

can satisfy Rule 23(a)(2)). “Moreover, because they do not also involve an

individualized inquiry for the determination of damage awards, injunctive actions

‘by their very nature often present common questions satisfying Rule 23(a)(2).’”

Baby Neal, 43 F.3d at 57 (quoting 7A Charles A. Wright, Arthur R. Miller & Mary

Kay Kane, Federal Practice and Procedure Civil § 1763, at 201 (2d ed. 1986)).

      Indeed, courts in this Circuit have consistently certified classes, like this one,

that are unified by the common threat of harm from a “defendant[s’] conduct and

policies,” Shelton, 775 F.3d at 565, even if individual class members have been

affected in different ways by that policy or have yet to be harmed, so long as the

defendant has uniformly applied that policy to the putative class, see, e.g., In re Cnty.


                                          -25-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 34 of 47




Bank of N. Va. Mortg. Lending Pracs. Litig., 795 F.3d 380, 399 (3d Cir. 2015)

(commonality requirement satisfied where plaintiffs alleged “that the class was

subjected to the same kind of illegal conduct by the same entities, and that class

members were harmed in the same way, albeit to potentially different extents”);

Reyes v. Netdeposit, LLC, 802 F.3d 469, 488 (3d Cir. 2015) (finding commonality

where “the sham theory” asserted by plaintiffs against defendants “relie[d] on a

‘common mode’ of behavior and a ‘general policy’ of fraud”); Troncone v. Velahos,

No. 10-2961, 2013 WL 1222630, at *4 (D.N.J. Mar. 25, 2013) (commonality

established where the plaintiff “allege[d] a general policy by Defendants” that

caused the class members’ injuries).

      Indeed, district courts certify 23(b)(2) classes when the plaintiffs challenge a

policy that impacts similarly situated persons. Howard v. Williams, No. 2:20-CV-

01389, 2022 WL 16553239, at *2 (W.D. Pa. Oct. 31, 2022) (commonality

established and 23(b)(2) class certified where “case turn[ed] on the common

questions of the existence and constitutionality of broadly and uniformly applicable

policies and procedures governing certain inmates’ confinement”); see also Parsons

v. Ryan, 754 F.3d 657, 678 (9th Cir. 2014) (commonality present in challenge to the

statewide “medical, mental health, and dental care policies and practices” of the

Arizona Department of Corrections because every putative class member was

subject to the same policies and faced a risk of harm); Wilson v. County of


                                        -26-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24    Page 35 of 47




Gloucester, 256 F.R.D. 479, 491 (D.N.J. 2009) (concluding that “the portion of this

suit seeking an order enjoining the [d]efendants from following [unlawful] policies

and practices [requiring strip-searches of pretrial detainees], is particularly well-

suited for certification under (b)(2)”).

      The Refusal Policy and Practice injures all members of the Class because they

all have unresolved criminal proceedings in New Jersey. The Refusal Policy and

Practice is the source of all the Class’s several injuries and serves as the common

thread uniting the Class’s claims. These injuries—including Class members’

inability to seek appointment of a public defender, to appear for required virtual

court hearings, to adhere to the conditions of pretrial release, and to present a

defense—all follow from the Refusal Policy and Practice. And because the Class

seeks only a declaration and an order enjoining the Refusal Policy and Practice and

requiring Defendants to provide them with access to the same technology already

offered for immigration and select family court proceedings, the Court can grant the

Class relief in “one stroke.” Dukes, 564 U.S. at 350; see also, e.g., R.F.M. v. Nielsen,

365 F. Supp. 3d 350, 368 (S.D.N.Y. 2019) (concluding that where “[c]ommon

questions of law,” such as “whether the agency is following a new policy and

whether that policy violates the APA [] will be significant” in adjudicating class

members’ individual cases, “resolution on a class-wide basis will allow for an




                                           -27-
  Case 3:24-cv-00259-SLH-PLD         Document 2-1      Filed 09/11/24   Page 36 of 47




important issue in the individual cases to be decided in ‘one stroke’” (quoting Dukes,

564 U.S. at 350)).

             3.      Typicality

      All members of the Class are prevented from appearing virtually in New

Jersey Courts for the same reason: Defendants’ Refusal Policy and Practice. This is

certainly true for each of the Plaintiffs. Therefore, Plaintiffs’ claims are “typical of

the claims . . . of the class.” Fed. R. Civ. P. 23(a)(3).

      “The typicality inquiry . . . centers on whether the named plaintiffs’ individual

circumstances are markedly different or the legal theory upon which the claims are

based differs from that upon which the claims of other class members will perforce

be based.” Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154,

183 (3d Cir. 2001) (internal quotation marks omitted). The Third Circuit has “set a

‘low threshold’ for typicality.” In re NFL Players Concussion Injury Litig., 821 F.3d

at 428. “If the claims of the named plaintiffs and putative class members involve the

same conduct by the defendant, typicality is established regardless of factual

differences.” Newton, 259 F.3d at 183-84. “‘Even relatively pronounced factual

differences will generally not preclude a finding of typicality where there is a strong

similarity of legal theories or where the claim arises from the same practice or course

of conduct.’” In re NFL Players Concussion Injury Litig., 821 F.3d at 428 (quoting




                                           -28-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 37 of 47




In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions, 148 F.3d 283, 311

(3d Cir. 1998)).

       Here, Plaintiffs and the Class’s claims all take aim at the same conduct—the

Defendants’ unlawful Refusal Policy and Practice. It is well established that “a claim

framed as a violative practice can support a class action embracing a variety of

injuries so long as those injuries can all be linked to the practice.” Newton, 259 F.3d

at 184 (internal quotation marks omitted); see also Luxama v. Ironbound Express,

Inc., No. CV112224JMVJBC, 2018 WL 6819341, at *13 (D.N.J. Dec. 27, 2018)

(same). Because Plaintiffs, like all members of the Class, are exposed to the same

“risk of an injury,” Baby Neal, 43 F.3d at 63, from the Refusal Policy and Practice—

i.e., that they will not be able to appear virtually in criminal proceedings against

them in the New Jersey Courts—typicality is established even though some

members of the Class may not have yet been denied the opportunity to appear

virtually.

             4.     Adequacy

       “The adequacy requirement primarily examines two matters: the interests and

incentives of the class representatives, and the experience and performance of class

counsel.” In re Cmty. Bank of N. Va. Mortg. Lending Pracs. Litig., 795 F.3d at 392.

Both prongs of Rule 23(a)(4) are met here.




                                         -29-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 38 of 47




                    a.    Plaintiffs Will Protect the Class’s Interests

      To establish that they are adequate class representatives, the named Plaintiffs

must show that they have “the ability and the incentive to represent the claims of the

class vigorously, . . . and that there is no conflict between the[ir] individual claims

and those asserted on behalf of the class.” Hassine, 846 F.2d at 179. Here, Plaintiffs

will more than adequately represent the Class because they are “part of the class and

possess the same interest and [have] suffer[ed] the same injury as the class

members.” In re Pet Food Prod. Liab. Litig., 629 F.3d 333, 343 (3d Cir. 2010)

(quoting Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 594-95 (1997)).

      Plaintiffs are motivated to prosecute this action on behalf of all class members

because, as a result of the Refusal Policy and Practice, they are at immediate risk of

adverse consequences from the failure to appear in the New Jersey courts and the

several kinds of harm that follow. Further, there is no conflict between Plaintiffs and

other class members. Their interests are aligned because they face or have

experienced similar injuries under the Refusal Policy and Practice, and they have

asserted identical claims seeking to have the Refusal Policy and Practice overturned

so that they can appear virtually in criminal proceedings.




                                         -30-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 39 of 47




                    b.     Lowenstein Sandler, Legal Services of New Jersey, and
                           the Harvard Immigration & Refugee Clinical Program
                           Are Qualified to Represent the Class.
      “Although questions concerning the adequacy of class counsel were

traditionally analyzed under the aegis of the adequate representation requirement of

Rule 23(a)(4) . . . , those questions have, since 2003, been governed by Rule 23(g).”

Sheinberg v. Sorensen, 606 F.3d 130, 132 (3d Cir. 2010). Rule 23(g)(l) provides a

list of nonexclusive factors a court may consider in determining whether class

counsel is adequate, including: (1) “the work counsel has done in identifying or

investigating potential claims in the action”; (2) “counsel’s experience in handling

class actions, other complex litigation, and the types of claims asserted in the action”;

(3) “counsel’s knowledge of the applicable law”; and (4) “the resources that counsel

will commit to representing the class.” Fed. R. Civ. P. 23(g)(l)(A)(i)-(iv). “No

clearly defined standard exists to determine whether class counsel is qualified to

represent the putative class, rather, the court is required to confirm that the proposed

attorneys can ‘handle’ the representation.” Doyle v. Fla. Health Sol., Inc., No. 17-

12231, 2018 WL 1128776, at *4 (D.N.J. Mar. 1, 2018).

      Lowenstein Sandler, which undertook this matter on a pro bono basis, will

effectively represent the interests of the Class. Its attorneys have extensive

experience handling both class action litigation and complex immigration cases.




                                          -31-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24    Page 40 of 47




Also, the firm has the financial resources and staff to litigate this matter to

completion. (See Declaration of Gavin J. Rooney ⁋⁋ 3-11 (Sept. 10, 2024)).

      LSNJ, which also undertook this matter on a pro bono basis, will effectively

represent the interests of the Class. In addition to investigating the factual and legal

claims involved in this matter, including filing and then litigating a FOIA Request

for public records to shed light on the widespread harms caused by Defendants’

Refusal Policy and Practice, LSNJ v. ICE, No. 23-CV-22222 (D.N.J.), its attorneys

have significant experience working with impacted members of the class. Moreover,

its lead attorneys in this case have extensive experience litigating class action cases

and complex immigration cases. Finally, LSNJ has the financial resources and staff

to litigate this matter to completion. (See Wisotsky Decl. ¶¶ 3-18).

      HIRCP, which undertook this matter on a pro bono basis, will effectively

represent the interests of the Class. The Program’s attorneys have extensive

experience handling complex immigration cases, including those involving criminal

matters, and class action litigation. Moreover, HIRCP has the financial resources

and staff to litigate this matter to completion. (See Declaration of Tiffany J. Lieu,

⁋⁋ 3-10 (Sept. 9, 2024)).

      All proposed Class Counsel have devoted significant time to investigating

potential claims in this action, including researching legal support for Class

Members’ claims and coordinating with experts in the criminal justice and


                                         -32-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1      Filed 09/11/24   Page 41 of 47




immigration fields to develop support for Plaintiffs’ case. Proposed Class Counsel

do not have any interests that are in conflict with those of the Class.

      B.     The Class Meets the Requirements of Rule 23(b)(2) Because a
             Single Injunction Would Remedy the Harm Caused by the Refusal
             Policy and Practice.

      If the “Rule 23(a) requirements are satisfied, the court must also find that the

class is maintainable under Rule 23(b)(l), (2), or (3).” In re LifeUSA Holding Inc.,

242 F.3d at 143. This lawsuit presents the archetypical 23(b)(2) class because the

Refusal Policy and Practice has been “appl[ied] generally to the class” and because

“final injunctive relief or corresponding declaratory relief” deeming Defendants’

Refusal Policy and Practice unlawful and requiring Defendants to provide Class

members remote access to the New Jersey courts “is appropriate respecting the class

as a whole.” Fed. R. Civ. P. 23(b)(2).

      The Third Circuit has observed that “injunctive actions,” like this one, that

“seek[] to define the relationship between the defendant and the ‘world at large,’ will

usually satisfy [the (b)(2)] requirement.” Baby Neal, 43 F.3d at 59. Indeed, “[i]t is

the (b)(2) class which serves most frequently as the vehicle for . . . institutional

reform cases that receive class action treatment.” Id. at 58–59. As the Advisory

Comments to the Rule make clear, “[t]he writers of Rule 23 intended that subsection

(b)(2) foster institutional reform by facilitating suits that challenge widespread rights

violations of people who are individually unable to vindicate their own rights.” Id.



                                          -33-
    Case 3:24-cv-00259-SLH-PLD      Document 2-1     Filed 09/11/24    Page 42 of 47




at 64 (citing Advisory Committee Notes to 1966 Amendments to Rule 23, 39 F.R.D.

102 (1966)).

       In addition to the challenged policy applying to the class as a whole, a class

certified under Rule 23(b)(2) must be “cohesive.” See Gates v. Rohm & Haas Co.,

655 F.3d 255, 263–64 (3d Cir. 2011). This requirement is not the same as Rule

23(b)(3)’s predominance requirement. 8 Rather, cohesiveness is satisfied where “the

conduct is such that it can be enjoined or declared unlawful only as to all of the class

members or as to none of them.” Dukes, 564 U.S. at 360 (internal quotation marks

and citation omitted); see also Luxama, 2018 WL 6819341, at *14. In other words,

Rule 23(b)(2) is met where “a single injunction or declaratory judgment would

provide relief to each member of the class.” Dukes, 564 U.S. at 360.

       The single injunction requirement does not, however, mean that all class

members must be identically situated. For a Rule 23(b)(2) class, “certification is

appropriate even if the defendant’s action or inaction has taken effect or is threatened

only as to one or a few members of the class, provided it is based on grounds which

have general application to the class.” Neale, 794 F.3d at 367–68 (internal quotations

and citation omitted). And because “threatened” conduct precedes actual harm, id.,


8
  The Third Circuit has also “conclude[d] that ascertainability is not a requirement
for certification of a (b)(2) class seeking only injunctive and declaratory relief.”
Shelton, 775 F.3d at 563; see also City Select Auto Sales Inc. v. BMW Bank of N.
Am. Inc., 867 F.3d 434, 439 n.2 (3d Cir. 2017) (noting that the “ascertainability
standard” for (b)(3) classes “is not applicable to Rule 23(b)(2) classes”).

                                         -34-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 43 of 47




class members need not have suffered an existing and manifested injury to obtain

class-wide relief.

      Accordingly, courts in this District have certified classes of persons who

challenge government policies that place the whole class at risk, notwithstanding the

variety of injury suffered by individual class members as a result of those policies.

For example, in Gayle v. Warden, Monmouth County Correctional Institution, No.

12-CV-02806, 2017 WL 5479701, at *1 (D.N.J. Nov. 15, 2017), Judge Freda L.

Wolfson certified a class of immigrants who claimed violations of federal and

constitutional law resulting from the allegedly flawed procedures through which

they were permitted to challenge their mandatory detention. The court rejected the

Government’s argument that the different challenges plaintiffs could raise during

their hearings precluded the court from collectively adjudicating their claims, noting

that plaintiffs were “all subject to the same allegedly unconstitutional governmental

policies and practices which they challenge.” Id. at *20. “[B]ecause Plaintiffs

s[ought] injunctive and declaratory relief to remedy those alleged violations, they

would similarly benefit all class members.” Id.

      Similarly, in W.A.O. v. Cuccinelli, No. 2:19-CV-11696MCAMAH, 2019 WL

4509333, at *2–3 (D.N.J. Sept. 17, 2019), Judge Madeline Cox Arleo similarly

certified a Rule 23(b)(2) class of juvenile immigrants challenging a U.S. Citizenship

and Immigration Services policy of discrediting findings from New Jersey Family


                                        -35-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 44 of 47




Courts submitted in support of plaintiffs’ application for Special Immigrant Juvenile

(“SIJ”) classification. Judge Arleo found that class certification was appropriate

because plaintiffs alleged that the governmental policy at issue “defeats SIJ

classification for all members of the putative class and because an injunction

requiring [the] [d]efendants to suspend that alleged [p]olicy would provide relief to

the class as a whole.” Id. at *3; accord Colon v. Passaic County, No. 08-CV-4439,

2009 WL 1560156, at *5 (D.N.J. May 27, 2009) (certifying (b)(2) class where

plaintiffs sought “to enjoin the policies and actions” that led to unconstitutional

prison conditions and noting that the “case [wa]s a prime candidate for class

treatment under Rule 23(b)(2) because it s[ought] injunctive relief against actions,

or inactions” that affected the whole class); Dittimus-Bey v. Taylor, 244 F.R.D. 284,

293 (D.N.J. 2007) (certifying (b)(2) class where plaintiffs sought to enjoin prison

“policies” that “cause[d] injury to all present and future inmates” and noting that “it

would be impossible to provide injunctive relief except on a class-wide basis”).

      Here, the Class’s claims are cohesive because Plaintiffs and the Class

members are all subject to the same Refusal Policy and Practice, which is uniformly

applied to all members of the Class regardless of individual circumstances. An

injunction requiring Defendants to provide Plaintiffs with access to the New Jersey

courts for purposes of participating in their criminal proceedings would similarly

benefit all Class members. Differences in the Class members’ backgrounds, the


                                         -36-
  Case 3:24-cv-00259-SLH-PLD       Document 2-1     Filed 09/11/24   Page 45 of 47




criminal charges against them, or their respective injuries caused by the Refusal

Policy and Practice have no impact on the relief they seek because the Class is only

pursuing a right of access to New Jersey state and municipal criminal courts, which

right is currently denied. See Baby Neal, 43 F.3d at 57 (holding that where a

“defendant engag[es] in a common course of conduct toward [plaintiffs],” there

is “no need for individualized determinations of the propriety of injunctive relief”

where “defendant's conduct is central to the claims of all class members” (emphasis

in original)).

III.   LOWENSTEIN SANDLER, LEGAL SERVICES OF NEW JERSEY,
       AND THE HARVARD IMMIGRATION & REFUGEE CLINICAL
       PROGRAM SHOULD BE APPOINTED CLASS COUNSEL.
       “[A] court that certifies a class must appoint class counsel.” Sheinberg, 606

F.3d at 132 (quoting Fed. R. Civ. P. 23(g)); see also Fed. R. Civ. P. 23(c)(l)(B). For

the reasons set forth in Section 4(b), supra, Plaintiffs respectfully request that

Lowenstein Sandler, Legal Services of New Jersey, and the Harvard Immigration &

Refugee Clinical Program be appointed as Co-Class Counsel. Individually and

collectively, the proposed Co-Class Counsel have specialized experience in the areas

of criminal justice and immigration law, and in handling complex cases and class

actions, and would provide strong representation for the Class in this matter.




                                        -37-
  Case 3:24-cv-00259-SLH-PLD        Document 2-1     Filed 09/11/24   Page 46 of 47




                                  CONCLUSION

      For the foregoing reasons, Plaintiffs respectfully request that the Court grant

their Motion for Class Certification and Appointment of Class Counsel, and:

(i) certify the Class as defined, or such other class that the Court deems appropriate;

(ii) appoint Plaintiffs to serve as representatives of the class; and (iii) appoint

Lowenstein Sandler LLP, Legal Services of New Jersey, and the Harvard

Immigration & Refugee Clinical Program as Co-Class Counsel.



Dated: September 11, 2024               By: /s/ Gavin J. Rooney
                                          Gavin J. Rooney, Esq.
                                          Alexander Shalom, Esq.
                                          Natalie J. Kraner, Esq.
                                          Naomi D. Barrowclough, Esq.
                                          Anish Patel, Esq.*
                                          Ruth Zimmerman, Esq.
                                          LOWENSTEIN SANDLER LLP
                                          One Lowenstein Drive
                                          Roseland, New Jersey 07068
                                          (973) 597-2500
                                          Shira Wisotsky, Esq.
                                          Raquiba Huq, Esq.
                                          Zoe Burke, Esq.
                                          Emily Thorton, Esq.*
                                          LEGAL SERVICES OF NEW JERSEY
                                          P.O. Box 1357
                                          Edison, New Jersey 08818
                                          (908) 882-2665




                                         -38-
Case 3:24-cv-00259-SLH-PLD   Document 2-1   Filed 09/11/24   Page 47 of 47




                                  Tiffany J. Lieu, Esq.*
                                  Philip L. Torrey, Esq.*
                                  CRIMMIGATION CLINIC
                                  HARVARD IMMIGRATION &
                                  REFUGEE CLINICAL PROGRAM
                                  6 Everett Street, Suite 3106
                                  Cambridge, Massachusetts 02138
                                  (617) 496-5497

                                  Pro Bono Counsel for Plaintiffs

                                  *pro hac vice motion forthcoming




                                 -39-
